Filed 07/07/17                                     Case 17-12389                                                   Doc 71
                 3

            1    ROBIN TUBESING #26680-49 [Indiana]
                 Trial Attorney
            2    GREGORY S. POWELL #182199
                 Assistant United States Trustee
            3    UNITED STATES DEPARTMENT OF JUSTICE
                 Office of the United States Trustee
            4    2500 Tulare Street, Suite 1401
                 Fresno, California 93721
            5    Telephone: (559) 487-5002
                 Telecopier: (559) 487-5030
            6    Robin.Tubesing@usdoj.gov
            7    Attorneys for Tracy Hope Davis,
                 United States Trustee
            8
                                          UNITED STATES BANKRUPTCY COURT
            9
                                            EASTERN DISTRICT OF CALIFORNIA
           10
                                                       FRESNO DIVISION
           11
                 In re:                                        )       Case No. 17-12389-A-11
           12                                                  )       Chapter 11
                 DON ROSE OIL CO., INC.,                       )       DC No. WW-001
           13                                                  )
                                                               )       Date: July 12, 2017
           14                                                  )       Time: 11:00 a.m.
                                                               )       Place: UnitedthStates Courthouse
           15                                                  )              510 19 Street
                                                 Debtor.       )              Bakersfield, California
           16                                                  )       Judge: Fredrick E. Clement
           17                    OBJECTION TO DEBTOR-IN-POSSESSION’S MOTION
                                 FOR AUTHORITY TO USE FACTORING FINANCING
           18
                          Tracy Hope Davis, United States Trustee for Region 17 (the “U.S. Trustee”), by and
           19
                 through undersigned counsel, hereby objects to the Debtor-in-Possession’s “Motion For
           20
                 Authority to Use Factoring Financing”.
           21
                          1. In its motion, the Debtor seeks authority to use factoring financing, pursuant to a
           22
                 contract entered into pre-petition. As discussed at the prior hearing, the motion is being
           23
                 brought pursuant to 11 U.S.C. § 363 as a “sale” of the Debtor’s accounts receivable.
           24
                          2. Because this appears to be a pre-petition executory contract, it appears the
           25
                 contract could have merely been assumed without need for this motion. However, a detailed
           26
                 review of the relief actually sought through the various pleadings shows that the Debtor asks
           27
                 for more than an order allowing for the continued use of factoring financing. Further, these
           28



                                                                   1
Filed 07/07/17                                     Case 17-12389                                                   Doc 71



            1    requests appear to be outside the scope of the relief requested and are over-broad, as detailed
            2    below.
            3             3. It appears the Debtor is requesting relief that is not mentioned in the motion
            4    and/or memorandum in support. Namely, granting Sallyport “administrative expense
            5    superpriority.” See Sallyport’s Memorandum of Points and Authorities filed on July 3, 2017
            6    (Docket #41), page 3, line 1. It is not proper to seek relief in a later-filed supporting
            7    document that is not sought in the moving document.
            8             4. The Debtor seeks to have a separate pre-petition loan obtained from Sallyport
            9    deemed “in the ordinary course” (“Sallyport Loan”). The Sallyport Loan was obtained after
           10    the filing of the involuntary Chapter 7 bankruptcy petition but before the filing of the
           11    voluntary Chapter 11 bankruptcy petition, and included the following: $35,000 for Debtor’s
           12    attorney retainer, $1,800 for the Chapter 11 filing fee, $50,000 for the purchase of oil
           13    products, and $109,000 for wages, salaries, and payroll taxes. See Debtor’s Memorandum of
           14    Points and Authorities filed on June 23, 2017 (Docket #12), page 3, line 16. However, the
           15    Debtor’s motion and memorandum in support does not explicitly lay out the terms and
           16    conditions of the Sallyport Loan. No loan agreement was provided and no terms detailed.
           17    This appears to be a separate transaction that is not part of the factoring financing
           18    agreement. It is not clear if the claim is a general unsecured claim and whether the Debtor
           19    intends to make payments on that pre-petition claim post-petition outside of a plan of
           20    reorganization. Also, while the motion seeks to have the Sallyport Loan deemed “in the
           21    ordinary course,” the supporting documents go further and seek that the court order that the
           22    Sallyport Loan “not be subject to attack…” See Sallyport’s Memorandum of Points and
           23    Authorities filed on July 3, 2017 (Docket #41). There is not enough disclosure related to the
           24    Sallyport Loan, and it is unclear the scope of relief sought as to the Sallyport Loan.
           25             5. Further, having the Court order that the Sallyport Loan cannot be attacked by any
           26    party at any time via a Section 363 “sale” motion of the Debtor’s accounts receivable would
           27    improperly bind other parties and may cause the Debtor to violate its fiduciary duties.
           28    Sallyport’s Memorandum of Points and Authorities, filed On July 3, 2017, provides that



                                                                 2
Filed 07/07/17                                     Case 17-12389                                                    Doc 71



            1    Sallyport “requires assurance that its pre-petition claim against Debtor and the estate will not
            2    be subject to attack…” But, the Debtor has a fiduciary duty to investigate and pursue
            3    actions, including actions under 11 U.S.C. § 547, § 548, and § 549. Having an order that
            4    provides that the Sallyport Loan cannot be attacked by the Debtor (or any party) precludes
            5    investigation of the claim, preventing the Debtor from performing its duties pursuant to 11
            6    U.S.C. § 1107(a), § 1106 and § 704(a). Further, such a ruling would also bind a creditors’
            7    committee and any future Chapter 11 Trustee or Chapter 7 Trustee from investigating and/or
            8    commencing an action. For all intents and purposes, the Debtor seeks to refute the claims of
            9    any complaint filed pursuant to 11 U.S.C. § 547, § 548, and § 549 before such an action is
           10    even filed, and they seek to do so via a Section 363 “sale” motion of accounts receivable.
           11    Finally, it may frustrate future arguments made regarding conflicts of interest, particularly as
           12    they relate to Debtor’s general counsel (specifically, part of the Sallyport Loan was
           13    earmarked to pay the retainer to Debtor’s counsel).
           14           6. The Debtor appears to seek authority under Section 363 to continue the use of
           15    factoring financing as a “sale” of the Debtor’s accounts receivable. However, the Debtor
           16    also appears to seek authority under Section 364 to have the Sallyport Loan approved as a
           17    “loan” obtained in the ordinary course. It is improper to seek two forms of relief in the same
           18    pleading. Local Rule 9014-1(d)(1) provides that “Except as otherwise provided in these
           19    rules, every application, motion, contested matter or other request for an order, shall be filed
           20    separately from any other request, except that relief in the alternative based on the same
           21    statute or rule may be filed in a single motion.”
           22           WHEREFORE, the U.S. Trustee requests that this Court deny the Debtor’s motion to
           23    for authority to use factoring financing.
           24    July 7, 2017                                  Respectfully submitted,
           25                                                  Gregory S. Powell,
                                                               Assistant United States Trustee
           26
                                                                       /s/ Robin Tubesing
           27                                                          Robin Tubesing
           28                                                  Attorney for Tracy Hope Davis,
                                                               United States Trustee


                                                                3
